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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,    )                              CASE NO. 1:13cr00031-013
                             )
     Plaintiff,              )                              JUDGE: JAMES S. GWIN
                             )
vs.                          )                              ORDER
                             )
PATRICK CORRIGAN aka PATRICK )
MARFLAK,                     )
                             )
     Defendant.              )



       This matter was heard on May 21, 2015, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney Edward LaRue.

       The violation report [Doc. 293] was referred to Magistrate Judge Greg White who issued

a Report and Recommendation [Doc. 335] on April 30, 2015. No objections having been filed to

the Report and Recommendation, the Court found that the following terms of supervision had

been violated:

                 1) failure to report change of address;

                 2) failure to report as instructed;

                 3) illicit drug use;

                 4) illicit drug use.

       Therefore, the defendant is committed to the Bureau of Prisons for a term of three months
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with credit for time served in federal custody on the instant offenses. Upon release from

incarceration defendant shall serve an additional two years of supervised release under the

conditions earlier imposed along with the added condition that defendant participate in an

outpatient mental health treatment program.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: May 22, 2015                                  s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
